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EXHIBIT D
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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 DONNA CURLING, et al.


        Plaintiffs,
                                                      CIVIL ACTION
        v.

                                                      FILE NO. l:17-cv-2989-AT
 BRAD RAFFENSPERGER, et al. ,


        Defendants.



                      DECLARATION OF MICHAEL BARNES


       Pursuant to 28 U.S.C. § 1746, 1, Michael Barnes, make the following

declaration:




       My name is Michael Barnes. I am over the age of 21 years, and I am under


no legal disability which would prevent me from giving this declaration. If called


to testify', I would testify under oath to these facts.

                                          o




       I currently am the Director of the Center for Election Systems, Office of


Secretary of State-Brad Raffensperger ("CES"). I was formerly Director of the


Center for Election Systems at Kennesaw State University ("KSU"), which was an




                                              1
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outside contractor with the Office of the Secretary of State, from 2002 until

December 31, 2017. Beginning on January 1, 2018, all elections functions that


were previously performed at KSU were moved to an internal department in the


Office of the Secretary of State. 1 first began working at CES KSU in 2005. Prior


to that time, I was the Assistant Director of Elections for the Georgia Secretary of

State, and in that position I directed the State of Georgia's transfer to a uniform

system of voting, i.e., direct-recording electronic voting machines ("DREs").


                                        3.


      1 am familiar with the server at CES that was accessed by Logan Lamb in

2016. That server was not a "central server*' at CES because it did not contain any

files used in the regular course of building ballots. It was a separate webserver


where files were sometimes located to allow election officials to download files for


use in elections. In my deposition, I discussed the types of files that were supposed

to remain on the server.


                                        4.


      Georgia's DREs use both internal memory hardware and removal external


memory cards. During an election, data files are saved to both the internal memory


and the removable external memory cards. These files contain the data collected


and operations performed during the DRE's use in an election. For example, when



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a voter hits the "Cast Ballot" button on a DRE, the audit log records an entry with

a timestamp and the words "Ballot Cast." The information about who the voter was


or what selections he or she made are not recorded in the audit log. The elector's

voter selections are recorded in both the internal memory and the removable

external memory card.




      Once the external memory card is inserted into the DRE and the DRE is

powered on, the DRE begins to store identical copies of data on both the external

memory card and the DRE's internal memory. As voters and election officials

interact with the DRE, both the external memory card and internal memory are

updated in tandem. When the election is ended on the DRE by a poll manager on


election night, the external memory card that is removed contains a copy of the


data collected and operations performed. The DRE's internal memory keeps its


identical copy of the same data in a folder specific to that election.


                                        6.


      Adding a new election to a Georgia DREs does not automatically overwrite


any prior election information maintained on the internal memory of the DRE


unless the internal memory is already full. Each election is maintained in a separate


folder on the internal memory of the unit and does not take up a large amount of



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space. When the machines reach capacit>, a manual process can be used to remove

past election information. That manual process has not been used in Georgia since

at least 20 I l, when BallotStation version 4.5.2! was installed on all Georgia DREs.

                                        7.

       imilarly, adding a ne\\ election to a memory card does not automatically

over.vrite prior election information maintained on the memory card. Each prior

election is maintained in a separate folder on the memory card.


      I declare under penalty of perjury that the foregoing is true and correct.

Executed this 30th day of July, 2019.


                                                  �E_S_




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